       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Mitchell Larnell Bennett
       v. Commonwealth of Virginia
       Record No. 1200-17-3
       Opinion rendered by Chief Judge Decker on
        November 20, 2018

    2. Dominque Jamar Jones, s/k/a
        Dominique Jamar Jones
       v. Commonwealth of Virginia
       Record No. 1504-17-2
       Opinion rendered by Judge Humphreys on
        December 26, 2018

    3. Donald Jamar Johnson
       v. Commonwealth of Virginia
       Record No. 2089-17-2
       Opinion rendered by Judge Beales on
        January 15, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Miguel Antonio Reyes
   v. Commonwealth of Virginia
   Record No. 2108-16-4
   Opinion rendered by Judge Beales
    on January 9, 2018
   Judgment of Court of Appeals affirmed by opinion rendered on February 21, 2019
   (180191)

2. Russell Ervin Brown, III
   v. Commonwealth of Virginia
   Record No. 0434-17-2
   Opinion rendered by Judge Huff
    on May 22, 2018
   Refused (180807)

3. Joseph John Melick
    v. Commonwealth of Virginia
   Record No. 1564-17-1
    Opinion rendered by Judge Russell
     on July 31, 2018
    Refused (181144)

4. Andy Chavez
   v. Commonwealth of Virginia
   Record No. 1189-17-4
   Opinion rendered by Judge Malveaux
    on August 14, 2018
   Refused (181204)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:

    1. Charlie Jeffreys
       v. The Uninsured Employer’s Fund, et al.
       Record No. 0660-17-3
       Memorandum opinion rendered by Judge Chafin on October 3, 2017
       Judgment of Court of Appeals affirmed by opinion rendered on February 14, 2019
       (171467)

    2. Nathaniel Dennis
       v. Commonwealth of Virginia
       Record No. 0774-17-1
       CAV petition for writ of actual innocence dismissed by
         Judges Humphreys, O’Brien and Retired Judge Bumgardner on October 31, 2017
       Judgment of Court of Appeals reversed and matter remanded to this Court for
         purposes of ordering a circuit court evidentiary hearing
       (171599)
